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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                      (Charlotte Division)

In re:                                                            )
                                                                  )           Chapter 11
TSI HOLDINGS, LLC, et al.                                         )           Case No. 17-30132
                                                                  )           (Jointly Administered)
                             Debtors.1                            )

         BRIEF IN OPPOSITION TO THE TRUSTEE’S MOTIONS TO CONVERT AND
                         APPROVE INTERIM DISTRIBUTIONS

          NOW COMES Stone Street Partners LLC (“SSP”), and hereby responds to the Trustee’s

Motion for Order (I) Terminating Joint Administration of Sharon Road Properties, LLC Case,

(II) Converting Remaining Cases to Chapter 11, and (III) Providing Miscellaneous Related

Relief (the “Conversion Motion”), [Doc. 253], and the Trustee’s Motion for Approval of Interim

Distribution to Creditors of the Ponzi Entities (the “Interim Distribution Motion,” and together

with the Conversion Motion, the “Motions”), [Doc. 252], filed by Joseph W. Grier, III the

Chapter 7 trustee (the “Trustee”). In support hereof, SSP respectfully shows the Court as

follows:

                                                  I. INTRODUCTION

          1.       SSP wants to see a reasonable and comprehensive resolution of these bankruptcy

cases, which provides for substantial distributions to all of the victims of Rick Siskey’s

fraudulent and criminal schemes. SSP cannot support the current proposal put forth by Diane

Siskey and the Trustee, however, which attempts to abuse the bankruptcy process by converting

three of these bankruptcy cases to Chapter 11 for the express purpose of giving Diane Siskey an

improper third-party litigation injunction, while allowing her to maximize her assets. This is


1
 The following debtors’ cases are being jointly administered by the Court: In re: TSI Holdings, LLC, Case No. 17-30132; In re:
WSC Holdings, LLC, Case No. 17-30338; In re: SouthPark Partners, LLC, Case No. 17-30339; In re: Sharon Road Properties,
LLC, Case No. 17-30363.



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simply not an appropriate use of Chapter 11 because there is no business to reorganize and no

going concern value to preserve. Consequently, the Court should deny both Motions.

         2.       With respect to the Conversion Motion, the Court should deny the relief requested

by the Trustee because: (a) the Supreme Court’s decision in Marrama v. Citizens Bank dictates

that a case should not be converted from Chapter 7 to another chapter where it would have to be

reconverted or dismissed as a bad faith filing, (b) the Fourth Circuit’s decision in Carolin Corp.

v. Miller dictates that this case would have to be converted or dismissed from Chapter 11

because there are no businesses to reorganize or going concern value to preserve, (c) these cases

would have to be converted or dismissed if they were in Chapter 11 pursuant to 1112(b)(4)

because there is a substantial and continuing diminution of the estate coupled with no likelihood

of rehabilitation, and (d) the relief requested is at odds with the fundamental policy underlying

Chapter 11, which is “to reorganize or rehabilitate an existing enterprise, or to preserve going

concern values of a viable or existing business.”

         3.       With respect to the Interim Distribution Motion, the Court should similarly deny

the requested relief because: (a) it is conditioned on the Court granting the Conversion Motion,

(b) it specifically violates the Supreme Court’s Czyzewski v. Jevic Holding Corp. decision by

requesting to make distributions that do not follow the priority rules established by Congress, (c)

it violates the Fourth Circuit’s decision in Official Committee of Equity Sec. Holders v. Mabey,

which prohibits pre-confirmation distributions to unsecured creditors, and (d) the Trustee is

trying to administer life insurance proceeds where he has not made any showing that he is

entitled to any of the life insurance proceeds that he seeks to distribute.

         4.       For all of these reasons, and those additional reasons discussed below, the Court

should deny the Motions.



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                                            II. BACKGROUND

         5.       On January 27, 2017, an involuntary Chapter 7 bankruptcy petition was filed

against debtor TSI Holdings, LLC (“TSI”), pursuant to 11 U.S.C. § 303.

         6.       Similar involuntary petitions were subsequently filed against debtors WSC

Holdings, LLC (“WSC”), SouthPark Partners, LLC (“SPP”) and Sharon Road Properties, LLC

(“SRP,” and collectively with TSI, WSC, and SPP, the “Debtors”).

         7.       TSI, WSC and SPP are sometimes referred to herein as the “Ponzi Debtors” to

coincide with the Trustee’s definition of same in the Motions.

         8.       As the Trustee has stated in prior sworn filings with the Court, the Debtors were

all controlled and operated by Rick Siskey prior to his death in December 2016. See, Affidavit of

Joseph W. Grier III dated April 4, 2018 (the “Grier Affidavit”). [Doc. 219-1, ¶ 4].

         9.       Rick Siskey’s decedent’s estate is being administered in Mecklenburg County,

North Carolina at case number 17-E-243 (the “Siskey Estate”). F. Lane Williamson is the

administrator of the Siskey Estate.

         10.      The Trustee has represented to the Court “that TSI, WSC and SPP were each

operated as part of a Ponzi scheme orchestrated by [Rick] Siskey.” Grier Affidavit, ¶ 5. The

Trustee has also represented to the Court that Rick Siskey has run Ponzi schemes through prior

entities known as, among others, the “Premier Funds.” Id. at ¶ 9.

         11.      SSP is informed and believes that Diane Siskey was actively involved in the

operation of the Premier Funds and the Ponzi scheme as a whole.

         12.      Debtors TSI, WSC and SPP are sham entities that never operated a legitimate

business, and they have not operated at all in at least 18 months since Rick Siskey’s death.




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         13.      Each entity has been dissolved by the North Carolina Secretary of State’s office.

None of them have any type of business to reorganize or going concern value to preserve.

         14.      In fact, the Trustee refers to these three debtors as “empty corporate shells that

have been abandoned by Rick Siskey.” Conversion Motion, p. 12, ¶ 41.

         15.      He similarly refers to these debtors as “totally defunct entities with no active or

available officers, directors, employees, or other agents of representatives…” Id. at p. 21, ¶ 72.

                                        III. CONVERSION MOTION

         16.      On June 1, 2017, the Trustee filed the Conversion Motion. In pertinent part, the

Conversion Motion seeks to convert the Chapter 7 bankruptcy cases of the “empty corporate

shells” of TSI, WSC and SPP to Chapter 11 to pursue confirmation of a bankruptcy plan.

         17.      The proposed plan is summarized in a Settlement Term Sheet dated June 1, 2018,

which is attached as Exhibit 1 to the Conversion Motion (the “Plan Term Sheet”). A copy of the

proposed plan is attached as Exhibit A to the Plan Term Sheet (the “Plan”).

         18.      The Plan Term Sheet and Conversion Motion summarize a byzantine and vague

series of transactions whereby two (2) trusts (the “Estate Liquidating Trust” and the “Residual

Payment Trust”) will be created to liquidate the Ponzi Debtors’ estates and to make distributions

to classes of creditors.

         19.      But, in substance, the proposed plan is just a sham orchestrated by Diane Siskey

(referred to as the “Primary Plan Sponsor”) to: (a) minimize her own liability by securing a

sweeping third-party injunction prohibiting victims of the Ponzi scheme from suing her, and (b)

maximize substantial assets that she and her family will retain totaling well in excess of $10

Million.




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         20.      In pertinent part, the Plan contemplates that Diane Siskey will “pay” $20,000,000

to fund the Estate Liquidating Trust with the trust to be fully funded on the Plan’s effective date.2

Conversion Motion, p. 14, ¶ 45.

         21.      On the Plan’s effective date, however, Diane Siskey will receive broad releases

from the Trustee and creditors, and a sweeping injunction from the Court discharging her from

any liability. Plan Term Sheet, ¶ 4, pp. 5-8.

         22.      Specifically, the Plan contemplates that the Court will enter an injunction against

all creditors of the Ponzi Debtors prohibiting them from suing Diane Siskey, her family and

others from any claim:

         …that arises from or in any way relates to the pre- or post-petition activities of the Plan
         Debtors or Richard Siskey, including without limitation, any claim or assertion that
         Richard Siskey operated a “Ponzi scheme” or other improper or illegal investment fraud,
         and any claim or assertion that [Diane Siskey and her family] knew, should have known
         about, was negligent in not knowing about, or otherwise aided and abetted any Ponzi
         scheme or other illegal investment fraud operated by Rick Siskey…

Plan Term Sheet, ¶ 4, pp. 7-9.

         23.      The proposed plan also seeks to pay the claims of the “Non-Debtor Investors”

from the Residual Payment Trust where they will “receive exactly the same financial treatment

as investor victims.” Conversion Motion, p. 14, ¶ 45.

         24.      The Conversion Motion acknowledges that these claims were previously

disallowed by the Court, yet seeks to administer and pay them anyway to avoid what the Trustee

calls an “arbitrary and inequitable result.” Id.




2
  The term sheet contemplates that Diane Siskey will pay $15,000,000 if the Conversion Motion is granted, and the
final $5,000,000 is paid in when the plan is confirmed. Plan Term Sheet, ¶ 4 p. 5. The Court should take note that
Diane Siskey is coercing creditors to induce them to approve an improper injunction of all claims against her and her
family by trickling funds into the bankruptcy estate. SSP is accustomed to this type of coercion and manipulation by
Diane Siskey, and the proposed Plan is filled with similar provisions.

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         25.      The Residual Payment Trust is funded by: (a) certain funds purportedly

committed by Diane Siskey, less a multi-million3 dollar “holdback” that Diane Siskey will use to

pay her personal expenses and liabilities, and (b) 50% of the “Probate Estate Available Cash”

from the Siskey Estate. Plan Term Sheet, ¶ 4, pp. 9-11.4

         26.      In order to participate in distributions from the Residual Payment Trust, however,

a claimant must be an “Eligible Creditor.” Id. at p. 9. “Eligible Creditor” is defined as a creditor

that has “voted in favor of the [p]lan” and dismisses any pending “Adverse Action” against

Diane Siskey, among others. Id. at pp. 10-11. In other words, creditors only receive a pro rata

distribution if they vote in favor of the plan.

         27.      But, even if a creditor doesn’t vote in favor of the plan, all creditors are still

enjoined from pursuing Diane Siskey, her family, and the Siskey Estate as discussed above.

Plan Term Sheet, ¶ 4, pp. 7-9.

         28.      Pursuant to Article XI, the Plan contemplates that it requires “at least 90%”

approval by the “Investor Class, the Tort Claimant Class, and…Eligible Non-Debtor Investors”

to support confirmation of the plan. Plan, p. 37, Art. XI, B. (iv). However, Diane Siskey “alone




3
  The definition of “Holdback Amount” on page 6 of the Plan states that the “holdback” will be at least $2,000,000
plus an additional sum based on a formula for determining how much Diane Siskey gets to keep based on creditors
that do not support the plan.
4
  In essence, the plan substantively consolidates the Ponzi Debtors with some of the assets and liabilities of the
Siskey Estate and Diane Siskey. SSP believes that the full substantive consolidation of the assets and liabilities of
Diane Siskey, the Siskey Estate and the Debtors is the only legitimate way to administer the assets and liabilities of
this Ponzi scheme. This is consistent with the alter ego theory of liability espoused by SSP, the Trustee’s
admissions at p. 4 ¶ 9 of the Conversion Motion that the affairs of these individuals and entities were excessively
commingled, and reality. Substantive consolidation of the assets and liabilities of corporate debtors and the related
individuals is also the norm in Ponzi scheme bankruptcy cases. See, e.g., White v. Creditors Serv. Corp. (In re
Creditors Serv. Corp.), 195 B.R. 680, 690-91 (Bankr. S.D. Ohio 1996) (ordering substantive consolidation where
“the financial wherewithal and financial affairs of the entities” and a person who was the sole shareholder of three of
the entities “are so entangled that they constitute a single enterprise”); In re Baker & Getty Fin. Serv. Inc., 78 B.R.
139, 142 (Bankr. N.D. Ohio 1987) (substantive consolidation ordered when corporate funds were commingled and
used for the principal’s personal purposes, and corporate entities were alter egos of principal who engaged in Ponzi
scheme to defraud investors).

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may modify such condition to lower (but not raise)” this purported voting threshold thereby

usurping the Court’s control over confirmation of the Plan.5 Id.

                                  IV. INTERIM DISTRIBUTION MOTION

         29.      On June 1, 2018, the Trustee also filed the Interim Distribution Motion. In the

Interim Distribution Motion, the Trustee proposes to distribute $14,500,000 to certain identified

investors with claims in the TSI, WSC and SPP cases.

         30.      The Interim Distribution Motion also contemplates a $500,000 holdback for

administrative expenses.

         31.      The relief sought in the Interim Distribution Motion is entirely conditioned on the

Court granting the Conversion Motion. Plan Term Sheet, ¶ 6, pp. 12-13 (illustrating that

payments are made after the Court grants the Interim Distribution Motion and verbally approves

the Conversion Motion).

         32.      The motion also provides that “the Interim Distribution is premised upon and has

been structured in a way to make it an integrated piece of the proposed plan…the Trustee intends

to effectuate once these cases are converted.” Interim Distribution Motion, p. 4, ¶ 13.

         33.      Furthermore, the Conversion Motion makes it clear that this proposed interim

distribution is a pre-confirmation distribution under the Plan by stating that the Interim

Distribution Motion seeks “to make a distribution…to creditors that are classified under the Plan

as if such amounts were distributed under the Plan.” Plan Term Sheet, ¶ 6, p. 12.




5
  SSP believes that this provision is intended for Diane Siskey to seek approval of the Plan from the “Investor Class”
where she will then change her mind about requiring 90% approval from the Tort Claims Class in order to secure a
third-party injunction against SSP and other parties that have filed actions against her. The Court should not give
Diane Siskey any control over these bankruptcy cases, nor should it allow her to make up the rules of the game and
then try to change them right before the finish line.

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           34.    The Interim Distribution Motion then states that (if approved) the Trustee plans to

make the distribution “prior to the entry of a written order on conversion from the Court.” Id. p.

2, ¶ 3.6

                                       V. ARGUMENT AND OBJECTIONS

           35.    As discussed below, the Court should deny the Motions for numerous reasons.

SSP addresses these reasons below in turn.

     A. The Court should deny the Conversion Motion.

           36.    On pages 12 & 13 of the Conversion Motion, the Trustee proclaims that he

“hereby elects to convert” the TSI, WSC and SPP cases by suggesting he has a “unilateral” right

to do so under 11 U.S.C. §706(a). This unsupported proposition is frivolous because Section

706(a) is unambiguous and only applies to the “debtor,” not the Chapter 7 trustee.

           37.    In fact, if the Court converts the cases under Section 706(a) as suggested, then the

Trustee is terminated by operation of law under Section 348 of the Bankruptcy Code. See, 11

U.S.C. § 348(e)(stating “[c]onversion of a case under section 706…terminates the service of any

trustee that is serving in the case before such conversion.”).

           38.    Moreover, the Trustee’s request to convert this case is completely undermined by

the United States Supreme Court’s decision in Marrama v. Citizens Bank, which held that even a

Chapter 7 debtor does not have an absolute right to convert to another chapter of the Bankruptcy

Code under Section 706(a) where the case would have to be immediately reconverted or

dismissed from that chapter as a bad-faith filing. Marrama v. Citizens Bank, 549 U.S. 365, 373-

374 (2007).




6
 This appears to be some type of attempt to consummate the Trustee’s “settlement” prior to the entry of the order on
conversion to render any appeal of the extreme relief requested by the Trustee as equitably moot.

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          39.     Indeed, the Supreme Court found that a debtor would not eligible to be a debtor in

the converted case under Section 706(d) in that circumstance. Id. at 374. Rather, the Supreme

Court said the bankruptcy court should deny such a request as an “abuse of process.” Id. at 375.

          40.     Here, much like in Marrama, the Court should deny the Conversion Motion to

prevent an abuse of process. Indeed, as discussed below, if this case were in Chapter 11 now it

would have to dismissed or converted as a bad faith filing. This result is supported by the

Marrama case, the Fourth Circuit’s Carolin Corp. decision, the plain language of Section 1112

of the Bankruptcy Code, and the factors cases discuss in deciding Section 706 motions.

    1. These cases cannot proceed in Chapter 11 because they would be considered “bad
       faith” filings if they were currently in Chapter 11.

          41.     The Fourth Circuit has held that a Chapter 11 petition should be dismissed or

converted where the petition was filed in bad faith. Carolin Corp. v. Miller, 886 F.2d 693 (4th

Cir. 1989). A Chapter 11 case is filed in bad faith where it objectively and subjectively futile. Id.

at 701.

          42.     The objective futility prong is designed to demonstrate that the Chapter 11 case

embodies “some relation to the statutory objective of resuscitating a financially troubled

[debtor].” Id. Therefore, a Chapter 11 case is objectively futile where “there is no going concern

to preserve . . . and . . . no hope of rehabilitation, except according to the debtor’s ‘terminal

euphoria.’” Id. at 701-02.

          43.     The subjective inquiry focuses on whether the debtor intends “to use the

provisions of Chapter 11 . . . to reorganize or rehabilitate an existing enterprise, or to preserve

going concern values of a viable or existing business.” Id. at 702. Indeed, it is an “abuse of the

reorganization process…[if there is no] intent or ability to reorganize his affairs.” Id. “It is of




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course obvious that ‘if there is not a potentially viable business in place worthy of protection and

rehabilitation, the Chapter 11 effort has lost its raison d'etre. . . .’” Id. at 698.

         44.      In the present case, the Ponzi Debtors’ cases would have to be converted or

dismissed as bad faith filings if they were currently in Chapter 11 because they are subjectively

and objectively futile. Without belaboring the point, there is simply no attempt to reorganize

troubled debtors, save a struggling business, or preserve going concern value. Indeed, the Ponzi

Debtors are sham entities that operated a fraudulent scheme, they have no operations, no

employees and nothing to reorganize.

         45.      Furthermore, the proposed plan is patently unconfirmable on its face under 11

U.S.C. § 1129(a)(3) “because it is not intended for the benefit of the Debtor…The Debtor's Plan

is for the sole and exclusive benefit of its insiders.” In re Davis Heritage GP Holdings, LLC,

443 B.R. 448, 461 (Bankr. N.D. Fla. 2011). See also 11 U.S.C. § 1129(a)(3)(requiring that a

plan be proposed in good faith).

         46.      Indeed, the Trustee is requesting the conversion of these cases for the express

purpose of allowing Diane Siskey (a non-debtor, and likely co-conspirator) to secure a release of

her liabilities and a sweeping injunction from this Court, while maximizing her own assets. This

is not a proper bankruptcy purpose.

         47.      This point is further reinforced by the fact that the Ponzi Debtors are neither

seeking nor entitled to a discharge under Section 1141(c)(3), because they are corporate entities,

will not continue in business, and are liquidating all of their assets.

         48.      Furthermore, the proposed plan’s request for a broad release and injunction is

patently futile here, because it is not essential to or even being proposed for the purpose of

furthering a “workable reorganization.” Menard-Sanford v. Mabey (In re A.H. Robins Co.), 880



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F.2d 694, 702 (4th Cir. 1988)(stating that plan injunctions must be “essential in this case to a

workable reorganization…”).

         49.      Indeed, the Fourth Circuit will only approve such a third party release and

injunction if it is “…essential to reorganization.” Nat'l Heritage Found., Inc. v. Highbourne

Found., 760 F.3d 344, 347 (4th Cir. 2014)(emphasis added).

         50.      Even if a party contributes substantial assets to a reorganization, that party “must

have provided a cognizable and valid contribution to the debtor as part of the debtor's

reorganization.” Id. at 348 (emphasis added).

         51.      Put simply, the third-party releases and injunctions requested here should never be

approved because they are neither essential to, nor even sought for, the purpose of a

reorganization of the Ponzi Debtors. Rather, they are requested for the perverse goal of allowing

Diane Siskey to minimize her liability related to her role in the Ponzi scheme, while maximizing

her assets.

         52.      This request is futile, requested in bad faith, and seeks the Court’s stamp of

approval on an abuse of the reorganization process. The Court should thus deny the Conversion

Motion.

    2. The Court should deny the Conversion Motion under Section 706(b) because it would
       have to convert or dismiss the case under 11 U.S.C.§ 1112(b) if it were in Chapter 11.

         53.      Similarly, under Section 706(b) “[i]f cause exists to reconvert from Chapter 11

under § 1112(b), conversion from Chapter 7 under section 706(b) would be a futile and wasted

act.” In re Gordon, 465 B.R. 683, 692 (Bankr. N.D. Ga. 2012).

         54.      Pursuant to 11 U.S.C. § 1112(b), the Court “shall” convert or dismiss a Chapter

11 case “for cause.” Cause exists under Section 1112(b)(4) where there is “a substantial or




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continuing loss to or diminution of the estate and the absence of a reasonable likelihood of

rehabilitation.”

         55.      Here, both prongs of the inquiry would require the Ponzi Debtors’ cases to be

converted if they were in Chapter 11. With respect to the first prong (a substantial or continuing

loss), that prong is satisfied “[i]n the context of a debtor who has ceased business operations and

liquidated virtually all of its assets, [from] any negative cash flow-including that resulting only

from administrative expenses.” Loop Corp. v. United States Tr., 379 F.3d 511, 516 (8th Cir.

2004)

         56.      In the present case, a substantial or continuing loss to the estate will occur if the

case is converted because the estates will incur additional and unnecessary expenses associated

with litigating a contested confirmation process, and the additional expenses that accrue in

Chapter 11 cases such as the payment of quarterly fees, holding an additional 341 meeting7,

additional reporting requirements and the likely formation of a creditors’ committee.8

         57.      These are unnecessary expenses in a liquidating case of “empty corporate shells”

as the Trustee has referred to the Ponzi Debtors.

         58.      The second prong of the test is also satisfied because there is no reasonable

likelihood of rehabilitation because the Ponzi Debtors’ are “empty corporate shells” with no

operations or employees as discussed at length above.

         59.      For all these reasons, the Conversion Motion should be denied.


7
  In the Conversion Motion, the Trustee asked the Court not to schedule a Section 341 meeting if the Court converts
the case, but Bankruptcy Rule 2003(a) provides that the Bankruptcy Administrator “shall” call a meeting of
creditors.
8
  In the Conversion Motion, the Trustee also asks the Court to forego the appointment of a creditors’ committee “for
cause.” However, Section 1102(a)(3) of the Bankruptcy Code governs the appointment of creditors’ committees in
Chapter 11 and only allows the Court to enter an order directing that a creditors’ committee not be appointed in a
small business case. The Ponzi Debtors do not qualify as small business debtors, however, because they are not
engaged in business and their liabilities exceed the debt limits described in Section 101(51D) of the Bankruptcy
Code.

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    3. The factors some courts evaluate to determine whether to convert a case from
       Chapter 7 to Chapter 11 pursuant to Section 706 do not support conversion.

         60.      Courts engaging in a Section 706 analysis have also identified the following

pertinent factors that apply here: “…whether the debtor's pre-petition conduct has been

improper…whether              the   debtor   has    no   ongoing   business   or   employees;   and

whether there is a lack of possibility for reorganization.” In re: George Love Farming, LC, 366

B.R. 170, 178 (Bankr. D. Ut. 2007).

         61.      Courts also consider “whether the debtor has a business to reorganize as well as

the debtor's assets, business operations, and whether a separate business infrastructure exists.” In

re Miller, 496 B.R. 469, 477 (Bankr. E.D. Tn. 2013). Furthermore, “if the purpose is only to

liquidate, which is more compatible with a Chapter 7 than a Chapter 11 case, conversion may not

be appropriate.” In re: Gordon, 465 B.R. at 692.

         62.      Much like with the other tests, conversion is inappropriate here because the Ponzi

Debtors’ pre-petition conduct was fraudulent and criminal, there is no business to restructure,

there are no employees and no request to rehabilitate the Ponzi Debtors.

         63.      Nor is it appropriate to convert the case to simply liquidate the Ponzi Debtors’

estates, which are already being liquidated in Chapter 7.

    B. The Court should deny the Interim Distribution Motion.

    1. The Interim Distribution Motion should be denied because it is conditioned to the
       Conversion Motion being granted.

         64.      The Court should deny the Interim Distribution Motion because it is conditioned

on the Court granting the Conversion Motion. Indeed, it provides that “the Interim Distribution

is premised upon and has been structured in a way to make it an integrated piece of the proposed




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plan…the Trustee intends to effectuate once these cases are converted.” Interim Distribution

Motion, p. 4, ¶ 13; Plan Term Sheet, ¶ 6, p. 12.

         65.      For the reasons stated above, the Conversion Motion should be denied, therefore,

the Interim Distribution Motion should also be denied.

    2. The Interim Distribution Motion violates the Supreme Court’s Jevic decision.

         66.      As discussed in detail in the Trustee’s prior attempt to settle with Diane Siskey,

the United States Supreme Court has held that the Bankruptcy Court should not approve a

settlement “that provides for distributions that do not follow ordinary priority rules without the

affected creditors’ consent.” Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 983 (2017).

         67.      For the reasons discussed previously, selectively making payments to unsecured

creditors violates the priority scheme set forth in 11 U.S.C. § 726. The Court should, therefore,

deny the Interim Distribution Motion.

    3. The Interim Distribution Motion violates the Fourth Circuit’s Mabey decision.

         68.      In Official Committee of Equity Sec. Holders v. Mabey, 832 F.2d 299, 302 (4th

Cir. 1987), the United States Court of Appeals for the Fourth Circuit specifically addressed the

scope of the Bankruptcy Court’s power under section 105(a) to authorize pre-confirmation

payments to unsecured creditors.

         69.      In Mabey, the Debtor and other parties in interest filed a motion seeking the

establishment of an emergency treatment fund to provide medical assistance to Dalkon Shield

infertility claimants prior to confirmation of a plan of reorganization. Mabey, 832 F.2d at 301.

         70.      The District Court granted the motion and directed the Debtor to establish a

$15,000,000 “emergency treatment fund…for the purpose of assisting in providing tubal

reconstructive surgery or in-vitro fertilization to eligible Dalkon Shield claimants.” Id. at 300.



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         71.      At the time it approved the motion, a plan was filed but it had not been confirmed.

Id. at 301.

         72.      On appeal, the Fourth Circuit reversed the District Court’s order stating “…the

creation of the Emergency Treatment Fund at this stage of the Chapter 11 bankruptcy

proceedings violates the clear language and intent of the Bankruptcy Code, and such action may

not be justified as an exercise of the court's equitable powers under 105(a).” Id. at 302.

         73.      The Fourth Circuit reasoned as follows:

         The Bankruptcy Code does not permit a distribution to unsecured creditors in a
         Chapter 11 proceeding except under and pursuant to a plan of reorganization that
         has been properly presented and approved. 11 U.S.C. § 1121 provides for the
         filing of a plan of reorganization. Sections 1122-1129 set forth the required
         contents of a plan, the classification of claims, the requirements of disclosure of
         the contents of the plan, the method for accepting the plan, any modification
         thereof, the hearing required on confirmation of the plan and the requirements for
         confirmation. The clear language of these statutes, as well as the Bankruptcy
         Rules applicable thereto, does not authorize the payment in part or in full, or
         the advance of monies to or for the benefit of unsecured claimants prior to the
         approval of the plan of reorganization. The creation of the Emergency
         Treatment Program has no authority to support it in the Bankruptcy Code and
         violates the clear policy of Chapter 11 reorganizations by allowing piecemeal,
         pre-confirmation payments to certain unsecured creditors. Such action also
         violates Bankruptcy Rule 3021 which allows distribution to creditors only after
         the allowance of claims and the confirmation of a plan.

Id. (emphasis added).

         74.      Here, much like in Mabey, the Interim Distribution Motion must be denied

because it requests that the Court authorize the pre-confirmation payments to certain unsecured

under the proposed plan. This request should be rejected, though, because the Bankruptcy Code

“does not authorize the payment in part or in full, or the advance of monies to or for the benefit

of unsecured claimants prior to the approval of the plan of reorganization.” Id.

         75.      Indeed, such piecemeal pre-confirmation payments violate the text of the

Bankruptcy Code and the clear policy underlying Chapter 11.

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         76.      Accordingly, the Interim Distribution Motion should be denied.9

     4. Under the circumstances, the equities do not support making any interim distributions.

         77.      Given the current status of these cases, the equities do not support making any

interim distributions. SSP believes that result is appropriate for multiple reasons.

         78.      First, the Trustee’s filings and actions in this case have been inconsistent and

potentially jeopardize substantial economic rights of many parties in interest, including SSP. For

example, when the Trustee opposed SSP’s request for relief from stay to streamline the

liquidation of its claims against multiple joint tortfeasors, he argued to the Court that it would be

“absurd” to allow SSP to have an allowed claim in these cases while disallowing the claims of

the Non-Debtor Investors. See, Memorandum of Law in Opposition to Motion for Relief from

Stay (“Relief from Stay Memo”), Doc. 219-2, pp. 10-13.

         79.      Now, however, the Trustee has put forward a proposed bankruptcy plan that

effectively overrules this Court’s prior order and allows the claims of the Non-Debtor Investors

for the purpose of distributions under the proposed plan. Nonetheless, the Trustee has not

withdrawn his objection to SSP’s claims. The Trustee’s actions are impossible to reconcile, and

the Court should not allow him to transfer millions of dollars around under these circumstances.

         80.      Second, the Trustee has made no showing whatsoever demonstrating his

entitlement to any of the life insurance proceeds he seeks to distribute. In fact, he has puzzlingly

argued in prior filings with the Court that such proceeds are held in constructive trust for

investors, not the Debtors’ estates. If that is true, the life insurance proceeds are not property of

the estate pursuant to Section 541(d) of the Bankruptcy Code, and the Trustee has wasted

approximately $1 million chasing assets that he concedes are not property of the estate. Given


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  Authorizing pre-confirmation distributions under a proposed bankruptcy plan as requested also appears to be
analogous to a sub rosa plan.

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that the Trustee’s professional fees have been paid from settlements with Ben Lowder and

Denise Rhodes, he would also likely be required to disgorge any fees he was paid to date.

         81.      Third, the Trustee’s positions with the Court in relation to SSP are inequitable. In

his filings, the Trustee has taken the position that SSP has adequate remedies at law to pursue

remedies against Diane Siskey and the Siskey Estate in state court. See, Relief from Stay Memo,

Doc. 219-2, p. 10. Notwithstanding the foregoing, he is also actively attempting to assist those

same parties in divesting themselves of substantial assets that could be used to pay SSP’s claims.

By doing so, he is assisting those parties in hindering, delaying or defrauding their own creditors.

         82.      Given the foregoing, SSP asks the Court to deny making any distributions until a

coherent strategy is put forward for administering these cases by the Trustee or someone else.10

                                                VI. CONCLUSION

         83.      Based on the foregoing, SSP respectfully requests that the Court deny the

Motions.

         WHEREFORE, Stone Street respectfully requests that the Court (i) deny the Motions,

and (ii) grant such other and further relief as is just and proper.

Dated: Charlotte, North Carolina
       June 20, 2018

                                                     MOON WRIGHT & HOUSTON, PLLC

                                                           /s/ Andrew T. Houston
                                                     Andrew T. Houston (Bar No. 36208)
                                                     121 West Trade Street, Suite 1950
                                                     Charlotte, North Carolina 28202
                                                     Telephone: (704) 944-6560
                                                     Facsimile: (704) 944-0380
                                                     Counsel for Stone Street Partners LLC

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  SSP reiterates that it remains willing to sit down with the Trustee, Diane Siskey, the administrator of the Siskey
Estate and the other creditors of this estate to try to come to a workable solution. To date, SSP and all other
creditors in these cases have been completely shut out of this process, and they are necessary parties in any global
resolution of these cases.

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